     Case 1:24-cv-10049-LJL         Document 142       Filed 03/19/25    Page 1 of 27




                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

Blake Lively,                                  §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §   Case No. 1:24-cv-10049-LJL
                                               §   (Consolidated with 1:25-cv-00449-LJL)
Wayfarer Studios LLC, a Delaware Limited       §   JURY TRIAL DEMANDED
Liability Company; Justin Baldoni, an indi-    §   ORAL ARGUMENT REQUESTED
vidual; Steve Sarowitz, an individual; It      §
Ends With Us Movie LLC, a California           §
Limited Liability Company; Melissa Na-         §
than, an individual; The Agency Group PR       §
LLC, a Delaware Limited Liability Com-         §
pany; Jennifer Abel, an individual; Jed Wal-   §
lace, an individual; and Street Relations,     §
Inc., a California (sic) Corporation           §
                                               §
       Defendants.                             §


                MEMORANDUM OF LAW IN SUPPORT OF
             DEFENDANTS’ MOTIONS TO DISMISS OR, IN THE
        ALTERNATIVE, MOTION TO SEVER AND TO TRANSFER VENUE
           Case 1:24-cv-10049-LJL                             Document 142                      Filed 03/19/25                   Page 2 of 27




                                                         TABLE OF CONTENTS

TABLE OF AUTHORITIES ......................................................................................................... ii

BACKGROUND ............................................................................................................................. 1

     I.          Allegations in the AC Regarding Personal Jurisdiction ........................................................ 2

            A.         The Relevant Parties ................................................................................................2

            B.         Alleged Jurisdictional Facts ..................................................................................... 3

            C.         Other Evidence Relevant to Personal Jurisdiction ...................................................4

PROCEDURAL HISTORY ............................................................................................................6

LEGAL STANDARD .....................................................................................................................6

DISCUSSION ................................................................................................................................. 7

     I.          Specific Jurisdiction ..................................................................................................................... 7

     II.         General Jurisdiction ..................................................................................................................... 9

     III.        Conspiracy Jurisdiction ............................................................................................................. 10

     IV.         Due Process ................................................................................................................................. 12

     V.          Venue ............................................................................................................................................ 12

     VI.         Transfer Venue ........................................................................................................................... 14

     VII.        Failure to State a Claim............................................................................................................. 16

            A.         False Light.............................................................................................................. 16

            B.         Intentional Infliction of Emotional Distress........................................................... 17

            C.         Aiding and Abetting Harassment and Retaliation Under California Law.............. 18

            D.         Without an underlying tort, there is no civil conspiracy. ....................................... 19

     VIII.       Conclusion ................................................................................................................................... 19

CERTIFICATE OF COMPLIANCE ........................................................................................... 21




                                                                                 i
         Case 1:24-cv-10049-LJL                      Document 142                 Filed 03/19/25             Page 3 of 27




                                               TABLE OF AUTHORITIES
                                                                                                                                Page(s)

Cases

Abadi v. Am. Airlines, Inc.,
   No. 23-CV-4033 (LJL), 2024 WL 1346437 (S.D.N.Y. Mar. 29, 2024) .....................................2

Alexander & Alexander Inc. v. Fritzen,
   68 N.Y.2d 968 (1986) ......................................................................................................... 12, 19

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ................................................................................................................. 16

Aybar v. Aybar,
   177 N.E.3d 1257 (2021) ............................................................................................................ 10

Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez,
   171 F.3d 779 (2d Cir. 1999).........................................................................................................6

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ................................................................................................................. 16

Bensusan Rest. Corp. v. King,
   126 F.3d 25 (2d Cir. 1997) ..........................................................................................................8

Blanco v. Success Acad. Charter Sch., Inc.,
   722 F.Supp.3d 187 (S.D.N.Y. 2024) ........................................................................................ 18

BNSF Ry. Co. v. Tyrrell,
  581 U.S. 402 (2017).................................................................................................................. 10

Brady v. NYP Holdings, Inc.,
   No. 21-CV-3482 (LJL), 2022 WL 992631 (S.D.N.Y. Mar. 31, 2022) ...................................... 17

Cain v. Hearst Corp.,
   878 S.W.2d 577 (Tex. 1994) ..................................................................................................... 17

Charles Schwab Corp. v. Bank of Am. Corp.,
   883 F.3d 68 (2d Cir. 2018) ....................................................................................................... 11

Convergen Energy LLC v. Brooks,
   2020 WL 5549039 (S.D.N.Y., Sept. 16, 2020) .......................................................................... 1




                                                                    ii
          Case 1:24-cv-10049-LJL                         Document 142                 Filed 03/19/25                Page 4 of 27




Costanza v. Seinfeld,
   181 Misc.2d 562 (Sup. Ct. N.Y. Cty. 1999), aff'd as modified, 279 A.D.2d 255
   (2001) ....................................................................................................................................... 17

Creative Photographers, Inc. v. Grupo Televisa, S.A.B.,
   No. 23-CV-7106 (LJL), 2024 WL 1533189 (S.D.N.Y. Apr. 8, 2024) .........................................8

Creative Photographers, Inc. v. Televisa, S.A.B.,
   No. 23-cv-7106 (LJL), 2025 WL 388401 (S.D.N.Y., Feb. 4, 2025) .................................. 1, 6, 7

D.H. Blair & Co., Inc. v. Gottdiener,
   462 F.3d 95 (2d Cir. 2006) ................................................................................................... 7, 14

Diaz-Roa v. Hermes L., P.C.,
   No. 24-CV-2105 (LJL), ---F.Supp.3d ---, 2024 WL 4866450 (S.D.N.Y. Nov.
   21, 2024) .............................................................................................................................. 9, 14

DiStefano v. Carozzi N. Am., Inc.,
   286 F.3d 81 (2d Cir. 2001) .........................................................................................................6

Edwardo v. Roman Cath. Bishop of Providence,
   66 F.4th 69 (2d Cir. 2023) .........................................................................................................8

Everything Yogurt Brands, LLC v. Bianco,
   No. 23-CV-01161 (LJL), 2024 WL 3497757 (S.D.N.Y. July 22, 2024) ......................................8

Fisk v. Letterman,
    424 F.Supp.2d 670 (S.D.N.Y. 2006) ................................................................................. 12, 19

FrontPoint Asian Event Driven Fund, L.P. V. Citibank, N.A.,
   No. 16 Civ. 5263 (AKH), 2017 WL 3600425 (S.D.N.Y., Aug. 18, 2017)................................. 11

Gmurzynska v. Hutton,
  257 F.Supp.2d 621 (S.D.N.Y. 2003), aff’d, 355 F.3d 206 (2d Cir. 2004) .................................. 7

Goodyear Dunlop Tires Operations, S.A. v. Brown,
   564 U.S. 915 (2011) .................................................................................................................. 10

Grupo Dataflux v. Atlas Glob. Grp., L.P.,
   541 U.S. 567 (2004) ...................................................................................................................2

Henry v. Fox News Network LLC,
   629 F.Supp.3d 136 (S.D.N.Y. 2022) ........................................................................................ 17

Hustler Mag. v. Falwell,
   485 U.S. 46 (1988) ................................................................................................................... 17



                                                                        iii
         Case 1:24-cv-10049-LJL                        Document 142                 Filed 03/19/25               Page 5 of 27




Int'l Shoe Co. v. Washington,
    326 U.S. 310 (1945) .................................................................................................................... 7

Johnson v. Bearfoot Companies, LLC,
   No. 02-23-00366-CV, 2024 WL 2202033 (Tex. App.-Fort Worth May 16,
   2024, no pet.) ........................................................................................................................... 17

Keeton v. Hustler Mag., Inc.,
   465 U.S. 770 (1984) .................................................................................................................. 11

Kinsey v. New York Times Co.,
   991 F.3d 171 (2d Cir. 2021) .................................................................................................. 3, 16

Lee v. Bankers Tr. Co.,
    166 F.3d 540 (2d Cir. 1999) ...................................................................................................... 16

Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,
    673 F.3d 50 (2d Cir. 2012) ................................................................................................... 7, 12

Matrixx Initiatives, Inc. v. Siracusano,
   563 U.S. 27 (2011) .................................................................................................................... 16

Matthews v. Malkus,
   377 F.Supp.2d 350 (S.D.N.Y. 2005) ........................................................................................ 17

Megna v. Biocomp Labs. Inc.,
   166 F.Supp 3d 493 (S.D.N.Y. 2016)........................................................................................... 7

Multi Access Ltd. v. Guangzhou Baiyunshan Pharm. Holdings Co., Ltd.,
   No. 20-CV-7397 (LJL), 2024 WL 3498180 (S.D.N.Y. July 22, 2024) ......................................6

New York Marine & Gen. Ins. Co. v. Lafarge N. Am., Inc.,
   599 F.3d 102 (2d Cir. 2010) ..................................................................................................... 14

P.C. v. Driscoll,
   No. 24-CV-2496 (LJL), 2025 WL 104522 (S.D.N.Y. Jan. 15, 2025) ....................................1, 13

Padula v. Lilarn Props. Corp.,
   84 N.Y.2d 519 (1994) ............................................................................................................... 16

Penguin Grp. (USA) Inc. v. Am. Buddha,
   946 N.E.2d 159 (N.Y. 2011) .......................................................................................................8

Raymond Loubier Irrevocable Tr. v. Loubier,
   858 F.3d 719 (2d Cir. 2017) ........................................................................................................2




                                                                      iv
         Case 1:24-cv-10049-LJL                       Document 142                 Filed 03/19/25              Page 6 of 27




Smith v. BP Lubricants USA Inc.,
   64 Cal.App.5th 138 (2021) ....................................................................................................... 18

In re Terrorist Attacks on Sept. 11, 2001,
    714 F.3d 659 (2d Cir. 2013) ....................................................................................................6, 8

Texas v. Florida,
   306 U.S. 398 (1939) .................................................................................................................. 13

Triano v. Gannett Satellite Info. Network, Inc.,
   Nos. 09–CV–2497 (KMK), 09–CV–2533 (KMK), 2010 WL 3932334
   (S.D.N.Y. Sept. 29, 2010) ........................................................................................................ 17

Statutes

28 U.S.C. § 124(d)(1)....................................................................................................................... 1

28 U.S.C. § 1404(a) ....................................................................................................................... 14

28 U.S.C. § 1406(a) ....................................................................................................................... 14

NY CPLR § 301 ........................................................................................................................... 7, 9

NY CPLR § 302 ....................................................................................................................... 7, 8, 9




                                                                      v
       Case 1:24-cv-10049-LJL           Document 142         Filed 03/19/25       Page 7 of 27




                  MEMORANDUM OF LAW IN SUPPORT OF
               DEFENDANTS’ MOTIONS TO DISMISS OR, IN THE
          ALTERNATIVE, MOTION TO SEVER AND TO TRANSFER VENUE

        Jed Wallace (“Wallace”) and Street Relations, Inc. (“Street”) (collectively “Defend-

ants”) move to dismiss the claims of Blake Lively (“Lively” or “Plaintiff”) brought against them

for the first time1 in her Amended Complaint (“AC,” Dkt. 84) (February 18, 2025) for (i) lack of
personal jurisdiction, (ii) improper venue, and (iii) failure to state a claim. In the alternative, De-

fendants move to sever the claims against them and to transfer venue to the United States District

Court for the Western District of Texas where a previously-filed case involving the same parties

and allegations is pending and where Lively’s claims could have been brought.2 Jed Wallace and

Street Relations, Inc. v. Blake Lively, 1:25-cv-00163 (Dkt. No. 1) (W.D. Tex., February 4, 2025)

(“First Filed Case”).


        BACKGROUND

        The rules regarding motions to dismiss are familiar, and for failure to state a claim the Court

is limited to reviewing and assuming to be true “the well-pleaded allegations of the [AC] as sup-

plemented by any documents incorporated by reference.” Creative Photographers, Inc. v. Televisa,

S.A.B., 23-cv-7106 (LJL), 2025 WL 388401, *1 (S.D.N.Y., Feb. 4, 2025) (“Televisa”). For the

personal jurisdiction and venue motions the Court is not so limited “but may also consider any
affidavits, declarations, or exhibits submitted by the parties.” Id. at *2. See P.C. v. Driscoll, No. 24-

CV-2496 (LJL), 2025 WL 104522, *4 (S.D.N.Y. Jan. 15, 2025) (“Driscoll”) (“A court applies the

1 Neither Wallace nor Street were sued in the original complaint. See generally Dkt. No. 1.

2
 Lively previously sued Wallace in a Texas state court within the Austin Division of the United
States District Court for the Western District of Texas (28 U.S.C. § 124(d)(1)) making virtually
identical allegations to those she asserts here. Lively nonsuited that case without prejudice on Feb-
ruary 4, 2025. In re Blake Lively, Petitioner , Requesting Deposition of Jed Wallace , Cause No. 25-
0200-DCF in the District Court for Hays County, Texas (January 21, 2025) (“Texas Case”). We
ask the Court to take judicial notice of the First Filed and Texas Cases. See Convergen Energy LLC
v. Brooks, 2020 WL 5549039, at *6 n.2 (S.D.N.Y., Sept. 16, 2020)(“The Court may take judicial
notice of matters of public record, such as pleadings and court orders from prior litigation between
the parties.”).


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                        PAGE 1 OF 21
       Case 1:24-cv-10049-LJL          Document 142         Filed 03/19/25      Page 8 of 27




same standard of review in Rule 12(b)(3) dismissals as Rule 12 (b)(2) dismissals for lack of jurisdic-

tion.”). Attached as Exhibit A is Mr. Wallace’s Declaration. We turn first to the 12(b)(2) motion

to dismiss for lack of personal jurisdiction.

       I.       Allegations in the AC Regarding Personal Jurisdiction

            A. The Relevant Parties

       The Plaintiff, who “resides in New York, New York,” is “an actress and entrepreneur who

co-starred and served as executive producer for” the Film, It Ends With Us. (“Film”) AC ¶¶1, 56.

She claims to have been sexually harassed by certain defendants and thereafter “was unlawfully

retaliated against for coming forward and reporting sexual harassment that occurred against her

and others on the set of (the Film).” Id. ¶1. She alleges only three causes of action against Wallace

and Street: (i) Aiding and Abetting Harassment and Retaliation in violation of California law Id.

¶¶408–415; (ii) Intentional Infliction of Emotional Distress Id. ¶¶434–439; and (iii) False Light

Invasion of Privacy also under California law (New York and Texas do not recognize this cause of

action) Id. ¶¶447–453. The 15th Cause of Action (conspiracy), which includes Wallace and Street,

is not a cognizable claim under California, Texas or New York law. See Abadi v. Am. Airlines, Inc.,

No. 23-CV-4033 (LJL), 2024 WL 1346437, at *53 n.57 (S.D.N.Y. Mar. 29, 2024) (“[C]ivil con-

spiracy … claim fails because each of New York, New Jersey, California, and Texas does not rec-

ognize civil conspiracy as an independent tort, and thus a cause of action alleging conspiracy to

commit a tort stands or falls with a sufficiently-stated underlying tort.”).

       Street is a Texas corporation, it was a Texas corporation on the date it was sued, and its

principal place of business has been in Texas since 2021. See Wallace Decl. ¶9, 3 It helps clients

“navigate real-life human crisis, threats, traumas and mental health concerns.” AC ¶66. “Wallace

is an individual who resides in Dripping Springs, Texas,” is “a self-employed PR Consultant who

3 A party’s legal status is measured as of the date it is sued. “It has long been the case that ‘the

jurisdiction of the court depends upon the state of things at the time of the action brought.’” Grupo
Dataflux v. Atlas Glob. Grp., L.P., 541 U.S. 567, 570 (2004); Raymond Loubier Irrevocable Tr. v.
Loubier, 858 F.3d 719, 723 n.2 (2d Cir. 2017).


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                     PAGE 2 OF 21
      Case 1:24-cv-10049-LJL          Document 142          Filed 03/19/25     Page 9 of 27




offers crisis mitigation services” and is the “President, Director and Secretary of Street.” Id. ¶65

Lively notes that Wallace has “no online presence (and) does not appear to have any public profiles

on Facebook, Instagram, X or LinkedIn. Id. ¶219.

       The other defendants are alleged to be residents of California (Wayfarer, Balboni, Heath,

It Ends With Us Movie LLC, Nathan,4 The Agency Group PR LLC and Abel) or Illinois (Saro-

witz). Id. ¶¶57–64.

          B. Alleged Jurisdictional Facts

       Lively alleges “on information and belief” that Wallace was hired in early August 2024 “to

design and implement (the other Defendants’) ‘social combat’ plan (and he) specializes in execut-

ing confidential and ‘untraceable’ campaigns across various social media platforms (including Tik-

Tok, Instagram, Reddit and X) to shape public perception of his clients and their adversaries and

to perpetuate those perceptions.” Id. ¶¶216, 218. There is no allegation that any of this activity

took place in or was directed at New York, and Lively has judicially admitted that Wallace worked

“remotely” from home in Texas. See Exhibit 1 to the Wallace Decl. Indeed, Wallace denies that

he engaged in this conduct at all. Wallace Decl. ¶¶17–31.

       “On information and belief” the AC alleges that Wallace and Street were “to weaponize a

digital army around the country, including New York and Los Angeles to create, seed, manipulate

and advance disparaging content that appeared to be authentic on social media platforms and in-

ternet chat forums….” Id. ¶223. Wallace is also said, “on information and belief,” “to transact

and solicit business within the State (of New York).” Id. ¶72. It is alleged that communications

were had with “at least one journalist at the New York Post and another at the New York Times”

although the AC does not specifically claim that the communications were with Wallace. Id. ¶73.

In any event, he denies communicating with the Post or the Times; that he transacts or solicits busi-

ness in New York or that he was asked to or did weaponize a digital army across the country and/or



4
 Nathan is also alleged to be a resident of Brooklyn, New York “during a portion of the relevant
period.” AC ¶62.


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                    PAGE 3 OF 21
      Case 1:24-cv-10049-LJL          Document 142         Filed 03/19/25      Page 10 of 27




targeted New York and Los Angeles. He never published, directly or indirectly, any information

or content concerning Plaintiff, and his assignment was to monitor and analyze the media climates

regarding the Film, Lively, and Baldoni, and his communications in that regard were with residents

of California, not New York. See Wallace Decl. ¶¶17–31.

          C. Other Evidence Relevant to Personal Jurisdiction

       On January 21, 2025, Lively sued Wallace in Texas but ultimately non-suited the case on

February 4, 2025, claiming that, the day before (February 3) at a pre-trial conference in this case,

“counsel for Wayfarer, who is also counsel for Mr. Wallace, took the position” that “the underly-

ing disputed issue in (the Texas Case) being (sic) raised and litigated in SDNY.” True and correct

copies of this Petition and the Motion to Non-Suit are attached to the Wallace Declaration as Ex-

hibits 1 and 2. The statement to the Texas court is false. First, the undersigned was and is Wallace’s

counsel in this case and the Texas case, a fact that was known to Lively’s Texas counsel on the day

she made made the above representation to the Texas judge. Second, the undersigned did not ap-

pear at the February 3 hearing for the simple reason that Wallace had not yet been sued in this case

and therefore could not have made and did not make the representation attributed to him by

Lively’s Texas counsel. Third, Wallace was not mentioned at the February 3 hearing and there was

no representation by Wayfarer’s counsel (or anyone else) that claims against him could or should

be litigated in SDNY. We ask the Court to take judicial notice of the transcript of the February 3,

2025 hearing.

       The Texas Case Petition alleges, just as she does in this case, that Lively and others on the

set of the Film were “subject to a pattern of unprofessional and sexually harassing behavior,”

Texas Case ¶5, and thereafter she was subjected to a “retaliation plan.” Id. ¶12. The allegations in

the Texas Case regarding Wallace are repeated almost word-for word in this case. Compare, e.g.,

Texas Case ¶13 (“Wallace … weaponized a digital army around the country including in New York

and Los Angeles …”) with this case, AC ¶38 (“Wallace …weaponized a digital army around the

country from New York to Los Angeles …”); Texas Case ¶15 (“TAG engaged Wallace to assist



WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                     PAGE 4 OF 21
      Case 1:24-cv-10049-LJL          Document 142        Filed 03/19/25      Page 11 of 27




them in their unlawful, retaliatory ‘social combat’ campaign…”) with this case, AC ¶216 (“TAG

engaged Mr. Jed Wallace … to design and implement their ‘social combat’ plan.”)

        The Texas case also contains Lively’s sworn judicial admissions that (i) “Wallace worked

remotely from Dripping Springs, Texas …” ¶16; (ii) “a substantial part of the events giving rise

to the claims that (Lively) seeks to investigate—specifically, Mr. Wallace’s work on the “social

manipulation” campaign—occurred in Hays County (Texas)” ¶35; and (iii) “a substantial part of

the underlying events that would give rise to the claims (against Wallace) being investigated oc-

curred in Hays County and Mr. Wallace resides in Hays County” ¶36.

        The First Filed Case was commenced in Austin federal court on February 4, 2025, shortly

after the Texas Case was non-suited. A true and correct copy of that pleading is attached to the

Wallace Declaration as Exhibit 3. Lively’s responsive pleading is due April 4, 2025. See Exhibit 4

to Wallace Declaration (email confirmation from her Texas counsel).

        The First Filed Case asserted claims for Declaratory Judgment and Defamation, the latter

occasioned, in part, by Lively’s publication of allegations that Wallace and Street had sexually har-

assed her on the Film set, naming them as Respondents in a “Complaint of Employment Discrim-

ination” filed with the California Civil Rights Department (“CRD Complaint”) and “leaked to

the press,” as Plaintiff admits AC ¶¶294–95. The CRD Complaint is attached to the Wallace Dec-

laration as Exhibit 5, and the Pleading attached to the CRD Complaint and made a part of it is

attached as Exhibit 6. These allegations are demonstrably false as neither Wallace nor Street had

anything to do with the movie’s production and were certainly not on the Film’s set. Wallace Decl.

¶27; see also id. ¶¶6, 16, 20.

        Wallace attended college at Fordham University, and moved back home to Pennsylvania in

late 1991. Since then, Wallace can only recall having visited the State of New York on four occa-

sions: 2007, 2008, 2009, and 2024. Wallace Decl. ¶¶5, 6. Wallace conducted no business on any

of those four trips. Id. ¶6 Wallace does not own, use, or possess any real property situated within

New York. Id. ¶7. Wallace has been the sole owner and President of Street Relations, Inc. since its

formation. Id. ¶8. Street Relations, Inc. was incorporated in Texas at the time it was joined as a


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                    PAGE 5 OF 21
      Case 1:24-cv-10049-LJL          Document 142         Filed 03/19/25      Page 12 of 27




defendant in this case and Texas continues to be its state of incorporation and its principal place of

business. Id. ¶9. It has no registered agent in New York, no property in New York, and no bank

account in New York. Id. ¶11.


       PROCEDURAL HISTORY

       Plaintiff initiated this action by complaint filed on December 31, 2024. Dkt. No. 1. Plaintiff

filed her amended Complaint (“AC”) on February 18, 2025, adding Wallace and Street as defend-

ants. Summons was issued to Wallace and Street on February 24, 2025, Dkt. No. 94, and was

served February 26, 2025, on the undersigned counsel who accepted it that day. Wallace and Street

have timely filed their motions to dismiss.


       LEGAL STANDARD

       On a Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction, “the plaintiff bears

the burden of establishing that the court has jurisdiction over the defendant.” DiStefano v. Carozzi

N. Am., Inc., 286 F.3d 81, 84 (2d Cir. 2001) (“Carozzi”) (quoting Bank Brussels Lambert v. Fiddler

Gonzalez & Rodriguez, 171 F.3d 779, 784 (2d Cir. 1999)). “Where, as here, jurisdictional discovery

has not been conducted, the plaintiff need only make a prima facie showing by his pleadings and

affidavits that jurisdiction is proper.” Televisa at *3. The allegations in the complaint are taken as

true to the extent they are uncontroverted by the defendants’ affidavits. Id. However, allegations

made on “information and belief,” as here, are entitled to little weight. See, e.g., Multi Access Ltd.

v. Guangzhou Baiyunshan Pharm. Holdings Co., Ltd., No. 20-CV-7397 (LJL), 2024 WL 3498180, *4

(S.D.N.Y. July 22, 2024) (“Conclusory allegations based only on information and belief are not

sufficient to provide such factual support.”).

       If the affidavits conflict, the Court “construe[s] the pleadings and affidavits in the light

most favorable to” plaintiffs, Carozzi at 84, but the Court “will not draw argumentative inferences

in the plaintiff’s favor” and need not “accept as true a legal conclusion couched as a factual alle-

gation,” In re Terrorist Attacks on Sept. 11, 2001, 714 F.3d 659, 673 (2d Cir. 2013) (quotations omit-

ted). “[C]onclusory allegations are not enough to establish personal jurisdiction.” Televisa at 16


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                     PAGE 6 OF 21
      Case 1:24-cv-10049-LJL           Document 142        Filed 03/19/25       Page 13 of 27




(quoting Gmurzynska v. Hutton, 257 F.Supp.2d 621, 625 (S.D.N.Y. 2003), aff’d, 355 F.3d 206 (2d

Cir. 2004)); accord Megna v. Biocomp Labs. Inc., 166 F.Supp 3d 493, 496–97 (S.D.N.Y. 2016).


       DISCUSSION

       Defendants should be dismissed because Plaintiff has failed to establish that the Court may

exercise personal jurisdiction over them. In cases like this one “federal courts are to apply the

personal jurisdiction rules of the forum state, provided those rules are consistent with the require-

ments of Due Process.” Televisa at *6 (federal question jurisdiction); see also D.H. Blair & Co., Inc.

v. Gottdiener, 462 F.3d 95, 104 (2d Cir. 2006)(“In diversity cases, the issue of personal jurisdiction

is governed by the law of the forum state.”). In New York there are two ways to exercise jurisdic-

tion over a non-resident: General jurisdiction pursuant to N.Y. CPLR § 301 and specific jurisdic-

tion pursuant to N.Y. CPLR § 302. In this case Plaintiff relies on both. See AC ¶¶70, 72.

       I.      Specific Jurisdiction

       “The New York long-arm statute does not extend in all respects to the constitutional limits

established by International Shoe Co. v. Washington, 326 U.S. 310 (1945), and its progeny.” Licci ex

rel. Licci v. Lebanese Canadian Bank, SAL, 673 F.3d 50, 60–61 (2d Cir. 2012) (“Licci”). So in de-

termining specific personal jurisdiction over a non-domiciliary, New York courts engage in a two-

step analysis. See id.; Televisa at *6. The first step is the application of New York’s long-arm stat-

ute. If the exercise of personal jurisdiction is deemed appropriate pursuant to the long-arm statute,

the second step is to determine whether personal jurisdiction comports with the Due Process

Clause of the United States Constitution. Plaintiff satisfies neither step in this case.

       The New York long-arm statute provides four ways to gain specific personal jurisdiction

over a defendant. None apply.

       First, neither Wallace nor Street “transact[] any business within the state or contracts an-

ywhere to supply goods or services in the state,” from which the causes of action arise. See N.Y.

CPLR § 302(a)(1). A foreign party “transacts business” in New York when, looking at the totality

of the circumstances, he “purposefully avails [himself] of the privilege of conducting activities


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                        PAGE 7 OF 21
      Case 1:24-cv-10049-LJL          Document 142         Filed 03/19/25       Page 14 of 27




within [New York], thus invoking the benefits and protections of its laws.” Everything Yogurt

Brands, LLC v. Bianco, No. 23-CV-01161 (LJL), 2024 WL 3497757, *5 (S.D.N.Y. July 22, 2024).

“There are no allegations, for example, that [Wallace and/or Street] came to New York to” do

any of the activities alleged against them. See id. at *6; see also Wallace Decl. ¶¶13–14, 16 (swearing

Wallace did none of his work in New York) and Plaintiff has judicially admitted that Wallace

“worked remotely from Dripping Springs, Texas….” Texas Case ¶16.

       Second, Wallace and Street were not “within the state” for any of the conduct alleged in

the Amended Complaint. The Second Circuit has held that Section 302(a)(2) “reaches only tor-

tious acts performed by a defendant who was physically present in New York when he performed

the wrongful act.” Bensusan Rest. Corp. v. King, 126 F.3d 25, 28 (2d Cir. 1997); accord Edwardo v.

Roman Cath. Bishop of Providence, 66 F.4th 69, 75 (2d Cir. 2023); Creative Photographers, Inc. v.

Grupo Televisa, S.A.B., No. 23-CV-7106 (LJL), 2024 WL 1533189, at *9 (S.D.N.Y. Apr. 8, 2024).

As Lively has previously alleged under oath, in the Texas Case ¶36 (“a substantial part of the un-

derlying events that would give rise to the claims being investigated occurred in Hays County”),

and Wallace swears, see, e.g., Wallace Decl. ¶16, his actions took place in Texas, not New York.

       Third, specific jurisdiction is not proper under § 302(a)(3)(ii). To establish jurisdiction un-

der CPLR § 302(a)(3)(ii), Plaintiff must allege that “(1) the defendant committed a tortious act

outside New York; (2) the cause of action arose from that act; (3) the tortious act caused an injury

to a person or property in New York; (4) the defendant expected or should reasonably have ex-

pected the act to have consequences in New York; and (5) the defendant derived substantial reve-

nue from interstate or international commerce.” Penguin Grp. (USA) Inc. v. Am. Buddha, 946

N.E.2d 159, 162 (N.Y. 2011); see also Creative Photographers, 2024 WL 1533189, at *10. Beyond the

barebones, conclusory allegations, Lively does not even allege (4) and (5) as to Wallace and Street.

See AC ¶72 (conclusory § 302 allegation stringing elements together); see also In re Terrorist At-

tacks, 714 F.3d at 673 (the Court need not “accept as true a legal conclusion couched as a factual

allegation”).




WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                      PAGE 8 OF 21
      Case 1:24-cv-10049-LJL            Document 142       Filed 03/19/25      Page 15 of 27




       The only concrete allegation connecting Wallace and Street with New York is a group alle-

gation with other Defendants, that “Ms. Nathan, Mr. Abel, Mr. Wallace, and Street targeted New

York by, among other things, communicating with (or causing content to be provided to) journal-

ists, content creators, and media entities based in New York, including at least one journalist at the

New York Post and another at the New York Times.” See AC ¶73. That allegation is unequivocally

controverted by Wallace and Street because:

             •   Neither Wallace nor Street communicated or caused content to be provided to jour-
                 nalists, content creators, or media entities in New York, Wallace Decl. ¶¶16–19;
             •   In fact, Wallace’s role was not to post anything on the internet, and he even advised
                 the Wayfarer team that there was nothing for them to do, Wallace Decl. ¶¶17–26;
             •   Wallace did not speak to a journalist at the New York Post or at the New York Times,
                 Wallace Decl. ¶29.

Lively’s allegations are nothing more than conclusory allegations based on information and belief

regarding Wallace and Street. See, e.g., AC ¶72.

       Fourth, § 302(a)(3)(i) “replac[es] the fourth and fifth elements” of § 302(a)(3)(ii) with its

own about regularly conducting business in New York. Diaz-Roa v. Hermes L., P.C., No. 24-CV-

2105 (LJL), ---F.Supp.3d ---, 2024 WL 4866450, at *8 (S.D.N.Y. Nov. 21, 2024). But again, beyond

a conclusory allegation, Lively does not allege any facts supporting that Wallace “regularly does or

solicits business, or engages in any other persistent course of conduct, or derives substantial reve-

nue from . . . services rendered” in New York and there are none. See § 302(a)(3)(i).

       None of the four New York long-arm statute tests are met.

       II.       General Jurisdiction

       There is no general jurisdiction over Wallace or Street. Plaintiff’s sole allegation regarding

general jurisdiction reference §301 N.Y. CPLR (the general jurisdiction section), and concludes:

“all Defendants systematically and continuously conduct and solicit business within New York

and have availed themselves of the privileges of conducting business in the State of New York.”

AC ¶70.



WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                     PAGE 9 OF 21
      Case 1:24-cv-10049-LJL           Document 142         Filed 03/19/25      Page 16 of 27




       “For an individual, the paradigm forum for the exercise of general jurisdiction is the indi-

vidual’s domicile; for a corporation, it is an equivalent place, one in which the corporation is fairly

regarded as at home.” Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924

(2011)(cite omitted); see also BNSF Ry. Co. v. Tyrrell, 581 U.S. 402, 413 (2017) (holding that it

would be “exceptional case” for corporation to be “at home” outside of place of incorporation

and principal place of business); Aybar v. Aybar, 177 N.E.3d 1257, 1265, 1265 n.6 (2021) (noting the

change in Supreme Court precedent on jurisdiction affects its interpretation of Section 301).

       Wallace is domiciled in Texas. Wallace Decl. ¶3; cf. also AC ¶65. There is no general per-

sonal jurisdiction over Wallace. See Goodyear, 564 U.S. at 924. Street is incorporated in Texas and

its principal place of business is Texas. Wallace Decl. ¶9. Lively does not allege any facts making

this an “exceptional case” excusing her from the “at home” rule that a corporation’s general ju-

risdiction as limited to its place of incorporation or principal place of business. See, e.g., BNSF, 581

U.S. at 413.

       III.    Conspiracy Jurisdiction

       In a single paragraph Plaintiff alleges, without specifically mentioning Wallace or Street,

that “this Court may exercise personal jurisdiction over Defendants because, as further alleged

herein, Defendants each participated in a civil conspiracy and, on numerous occasions, individual

co-conspirators engaged in overt acts in furtherance of that conspiracy that had sufficient contacts

with New York to subject that co-conspirator to jurisdiction in New York.” AC ¶71. Plaintiff then

provides “just a few examples,” (AC ¶73), which lists New York activities such as a January 4,

2024, meeting which, if it occurred, is months prior to when Plaintiff says Wallace and Street were

first involved in this matter (August 2024). Id. ¶216. All of the other examples relate to other de-

fendants with the exception of the group allegation which Wallace and Street have denied.

       Plaintiff’s 15th Cause of Action (Conspiracy) consists of four one sentence paragraphs

which make no additional factual assertion. Although Conspiracy Jurisdiction exists, “[F]ederal

courts have been increasingly reluctant to extend this theory of jurisdiction beyond the context of



WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                     PAGE 10 OF 21
      Case 1:24-cv-10049-LJL          Document 142        Filed 03/19/25       Page 17 of 27




New York’s long-arm statute.” See FrontPoint Asian Event Driven Fund, L.P. V. Citibank, N.A.,

2017 WL 3600425, *8 (S.D.N.Y., Aug. 18, 2017) (internal quote omitted). As we have seen, the

New York long arm statute does not apply.

       To allege a conspiracy theory of jurisdiction, “the plaintiff must allege that (1) a conspiracy

existed; (2) the defendant participated in the conspiracy; and (3) a co-conspirator’s overt acts in

furtherance of the conspiracy had sufficient contacts with a state to subject that co-conspirator to

jurisdiction in that state.” Charles Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68, 87 (2d Cir.

2018). While evaluating these factors, the Court must keep in mind “that due process demands

that courts assess ‘[e]ach defendant’s contacts ... individually,’” see id. at 84 (quoting Keeton v.

Hustler Magazine, Inc., 465 U.S. 770, 781 n.13 (1984)), even if in-forum acts by a co-conspirator can

be imputed to another co-conspirator, see id. at 87.

       Because Wallace did not “participate[] in [a] conspiracy” to commit tortious conduct or

unlawful acts against Lively—negating element 2—there is no personal jurisdiction. Lively never

connects the dots in her conspiracy allegations to her factual allegations, see AC ¶¶479–82. But

Lively alleges a “retaliatory scheme to silence her, and others, from speaking out about the hostile

environment,” id. ¶55, and that Wallace and Street engaged in a “retaliation scheme against Ms.

Lively … relying on direct and constant media engagement, the seeding of content on traditional

and social media platforms, the boosting of content (sometimes the very content that TAG and its

affiliates had seeded), the suppressing of negative content about Mr. Baldoni, and the amplifying

of negative content about Ms. Lively (including through engagement via comments on social me-

dia),” id. ¶230.

       If that conspiracy exists, which Wallace doubts, he has no knowledge of it because he was

not involved. See Wallace Decl. ¶31. Again, Wallace’s involvement was to mere passive observa-

tion and analysis of the media environment. Id. ¶¶16–25, 30. After that observation period, Wal-

lace’s recommendation was that there was no public relations damage control to do. Id. ¶25. Wal-

lace’s assessment, instead, was that people organically supported Baldoni and disliked Lively for




WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                    PAGE 11 OF 21
      Case 1:24-cv-10049-LJL             Document 142      Filed 03/19/25      Page 18 of 27




her tone-deaf promotion of the Film. Id. Wallace had no desire to nor did he damage Lively or her

reputation, nor did he act on the imagined desire with anyone. See Id. ¶31.

        Further, a civil conspiracy requires an underlying tortious act. Fisk v. Letterman, 424

F.Supp.2d 670, 677 (S.D.N.Y. 2006) (“New York law only recognizes an action for civil conspiracy

if it is connected to a separate underlying tort.”) (citing Alexander & Alexander Inc. v. Fritzen, 68

N.Y.2d 968, 969 (1986)). For the reasons below, Lively fails to state a claim that Wallace or Street

Relation engaged in any tort.

        IV.     Due Process

        Even if Defendants’ activities subject them to jurisdiction under the New York long-arm

statute (and they do not) the Court must still determine whether “the exercise of jurisdiction

would comport with the Due Process Clause.” Licci at 60. This analysis proceeds in two steps, first

whether given the totality of the circumstances that is, the quality and quantity of the defendant’s

contacts, due process is satisfied and second, whether the assertion of jurisdiction would satisfy

fair play and substantial justice. Id.

        There is literally nothing in the AC that supports the notion, fundamental to due process,

that Defendants availed themselves of the privilege of doing business in New York. And when con-

sidering fairness and substantial justice the Court should keep in mind that Lively sued Wallace

first—in Texas. She claims in this case that he violated California law (false light and aiding and

abetting discrimination) and, if California law applies, it is not New York that has the most signifi-

cant relationship to Wallace’s and Street’s conduct. Furthermore, there is already a forum—

Texas—previously invoked by Lively which awaits her potential compulsory counterclaim. (First

Filed Case).

        V.      Venue

        The Court’s analysis of the Amended Complaint is the same under the rule governing dis-

missal for improper venue as it was for personal jurisdiction and requires a two-step process. First,

the Court should identify the nature of the claims and acts or omissions that Plaintiff alleges gives



WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                    PAGE 12 OF 21
      Case 1:24-cv-10049-LJL          Document 142         Filed 03/19/25      Page 19 of 27




rise to those claims. Second, the Court should determine whether a substantial part of those acts

or omissions occurred in the district where the case was filed. Driscoll at *5. “The Plaintiff bears

the burden of showing … that venue is proper for each claim against such defendant.” Driscoll at *6

(emphasis added).

       Here, two of the three substantive claims are expressly based on California substantive law

and, under the recognized choice of law analysis applicable to this case, for California law to apply

then a substantial amount of the events must have taken place there, not New York. In fact, as we

have explained, all of the events regarding Wallace and Street occurred in Texas as Plaintiff has

admitted. And, of course, as we have pointed out before, and will again, neither New York nor

Texas recognize one of Plaintiff’s claims—false light.

       We also note that Plaintiff’s reliance on § 1391(c) for Wallace is misplaced. Plaintiff admits

that Wallace, a natural person, is a resident of the judicial district in which he is domiciled, which

is the Western District of Texas. See Wallace Decl. ¶¶3 ,4. That also makes him a Texas domicili-

ary and resident, for purposes of venue, which rules out Wallace from being a resident of New

York. See Texas v. Florida, 306 U.S. 398, 429 (1939) (“[A] person must have one domicile, and can

have only one, is an historic rule of the common law[.]”).

       So, the “plaintiff bears the burden of showing that venue is proper once an objection is

raised, and it must show that venue is proper for each claim against each defendant.” Driscoll, at *6

(emphasis added).

       Just like for personal jurisdiction, Lively makes little effort connecting Wallace to New

York. Indeed, Lively alleged under penalty of perjury in Texas that venue is proper in the Hays

County, Texas, a county in the Western District of Texas, “because a substantial part of the un-

derlying events that would give rise to the claims being investigated occurred in Hays County”.

Ex. 1 (Rule 202 Petition) ¶36. And she was right. Wallace’s conduct was in Texas and decidedly

not in New York. Wallace’s earliest involvement with his limited role with It Ends With Us and

Wayfarer was August 2024. Wallace Decl. ¶16. Wallace was the only employee of Street that en-

gaged in that limited role. Id. None of that work was in New York. Id.


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                    PAGE 13 OF 21
      Case 1:24-cv-10049-LJL             Document 142      Filed 03/19/25       Page 20 of 27




       Lively’s only allegation connecting Wallace to New York is the group allegation with other

Defendants, that “Mr. Wallace, and Street Relations Inc. targeted New York by, among other

things, communicating with (or causing content to be provided to) journalists, content creators,

and media entities based in New York, including at least one journalist at the New York Post and

another at the New York Times.” See AC ¶73. That allegation is unequivocally false as to Wallace

and Street who did not communicate or cause content to be provided to any journalists, content

creators, or media entities anywhere, let alone New York. See Wallace Decl. ¶¶16, 29.

       Lively has no basis to assert proper venue over Wallace in the District.

       VI.     Transfer Venue

       A district court may exercise its discretion to transfer venue “for the convenience of parties

and witnesses, in the interest of justice.” 28 U.S.C. § 1404(a) or simply “in the interest of justice”

transfer the case to any district “in which it could have been brought” without specific regard to

convenience. 28 U.S.C. § 1406(a). Among the factors to be considered in determining whether to

grant a motion to transfer venue for convenience “are, inter alia: (1) the plaintiff’s choice of forum,

(2) the convenience of witnesses, (3) the location of relevant documents and relative ease of access

to sources of proof, (4) the convenience of parties, (5) the locus of operative facts, (6) the availa-

bility of process to compel the attendance of unwilling witnesses, and (7) the relative means of the

parties.” Gottdiener, 462 F.3d at 106–07 (internal quotation marks and alteration omitted); see also

New York Marine & Gen. Ins. Co. v. Lafarge N. Am., Inc., 599 F.3d 102, 112 (2d Cir. 2010).

       The plaintiff's choice of forum

       The first-filed rule puts a large thumb on the scale in favor of transfer. The first-filed rule

states that, in determining the proper venue, “[w]here there are two competing lawsuits, the first

suit should have priority.” Gottdiener, 462 F.3d at 106; see also Diaz-Roa v. Hermes L., P.C., No.

24-CV-2105 (LJL), 2024 WL 4866450, at *28 (S.D.N.Y. Nov. 21, 2024) (“It is well established

the existence of a related action pending in the transferee court weighs heavily towards transfer.”).

Wallace filed his claims for Defamation and Declaratory Judgment against Lively on February 4,



WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                     PAGE 14 OF 21
      Case 1:24-cv-10049-LJL           Document 142        Filed 03/19/25       Page 21 of 27




2025. Original Complaint, Dkt. 1, Wallace et al. v. Lively, Case 1:25-cv-00163 (W.D. Tex.). Lively

did not add Wallace until two weeks later. Compare AC ¶¶65–66 (including Wallace and Street as

parties) with generally, Dkt. 1 (Lively’s original complaint not naming either).

       Witnesses and documents

       Many of the witnesses reside in California and Texas rather than located in the District. See

AC ¶¶57–66

       The convenience of parties




       Further, travel-to-and from New York would be hard financially on Wallace in two ways.

Not only would consistent travel to-and-from New York be a major expense for him, it would also

disrupt his ability to make a living, as he does most of his work in Texas. Wallace Decl. ¶35.

       Locus of operative facts

       As explained above, the locus of operative facts—at least as to Wallace and Street —are in

Texas, where he observed social media posts and other forms of media. The remaining conduct, as

Lively alleges it, seems to have taken place other than in New York. See, e.g., AC ¶¶38 (Texas),

224 (Hawai‘i), 294 (California) .

       The relative means of the parties

       Wallace perceives his financial resources to pale in comparison to Lively and her husband.

Wallace Decl. ¶36.

                                                ***

       In sum, the weight of these factors, in particular the first-filed rule, weighs in favor of

transfer of Lively’s claims against Wallace and Street to Texas.




WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                     PAGE 15 OF 21
      Case 1:24-cv-10049-LJL            Document 142         Filed 03/19/25       Page 22 of 27




        VII.    Failure to State a Claim

        To survive a Rule 12(b)(6) motion to dismiss for failure to state a claim, a complaint must

include “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). A complaint must offer more than “labels and conclusions,” “a formulaic reci-

tation of the elements of a cause of action,” or “naked assertion[s]” devoid of “further factual

enhancement.” Twombly, 550 U.S. at 555, 557. The ultimate question is whether “[a] claim has

facial plausibility, [i.e.,] the plaintiff pleads factual content that allows the court to draw the rea-

sonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

“Determining whether a complaint states a plausible claim for relief will ... be a context-specific

task that requires the reviewing court to draw on its judicial experience and common sense.” Id. at

679. Put another way, the plausibility requirement “calls for enough fact to raise a reasonable ex-

pectation that discovery will reveal evidence [supporting the claim].” Twombly, 550 U.S. at 556;

see also Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 46 (2011).

           A. False Light

        Under New York choice-of-law principles, either New York or Texas law applies to

Lively’s false light claim. See, e.g., Kinsey v. New York Times Co., 991 F.3d 171, 177–78 (2d Cir.

2021) (considering primarily defamation plaintiff’s domicile—here, New York—and “where the

statements emanated,”—here, allegedly Texas). Under Lively’s theory of venue and personal ju-

risdiction, New York is the epicenter of this case. If the Court is reaching the merits, it is neces-

sarily accepting Plaintiff’s theory that New York has the most significant relationship to the claims

and certainly to the exclusion of California where no conduct is alleged to have taken place. New

York applies the law of the state with the most significant interest in the litigation. See Lee v. Bank-

ers Tr. Co., 166 F.3d 540, 545 (2d Cir. 1999) (citing Padula v. Lilarn Props. Corp., 84 N.Y.2d 519,

521 (1994)).




WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                       PAGE 16 OF 21
      Case 1:24-cv-10049-LJL           Document 142         Filed 03/19/25       Page 23 of 27




        If New York law applies, Lively’s claim for False Light must be dismissed because “[t]here

is no tort of false light invasion of privacy under New York law.” Brady v. NYP Holdings, Inc., No.

21-CV-3482 (LJL), 2022 WL 992631, at *8 (S.D.N.Y. Mar. 31, 2022) (dismissing claim citing Tri-

ano v. Gannett Satellite Information Network, Inc., 2010 WL 3932334, at *4 (S.D.N.Y. Sept. 29,

2010)); see also Matthews v. Malkus, 377 F.Supp.2d 350, 358 (S.D.N.Y. 2005) (“Under New York

law, invasion of privacy based on publicity which placed [a plaintiff] in false light is not a cognizable

claim”); see also Costanza v. Seinfeld, 181 Misc.2d 562, 564 (Sup. Ct. N.Y. Cty. 1999) (noting that

“New York law does not and never has allowed a common law claim for invasion of privacy”),

aff'd as modified, 279 A.D.2d 255 (2001); Henry v. Fox News Network LLC, 629 F.Supp.3d 136, 151

(S.D.N.Y. 2022) (“New York does not recognize a separate cause of action for false light/invasion

of privacy”).

        The result is the same under Texas law. Cain v. Hearst Corp., 878 S.W.2d 577, 578 (Tex.

1994) (“We reject the false light invasion of privacy tort[.]”); see also Johnson v. Bearfoot Compa-

nies, LLC, No. 02-23-00366-CV, 2024 WL 2202033, at *6 (Tex. App.—Fort Worth May 16, 2024,

no pet.) (“[T]he Texas Supreme Court [has] expressly declined to recognize false-light invasion-

of-privacy claims based on the publication of false statements about the plaintiff.”).

          B. Intentional Infliction of Emotional Distress

        Lively concedes that she “is a public figure.” AC ¶461. As such, she must satisfy the con-

stitutionally required “actual malice” standard as an element of her claim. Hustler Magazine v.

Falwell, 485 U.S. 46, 53 (1988). “Actual malice” means that “a public figure … may not recover

for the tort of intentional infliction of emotional distress … without showing in addition that the

publication contains a false statement of fact which is made with ‘actual malice,’ i.e., with

knowledge that the statement was false … or that it was made with reckless disregard as to whether

or not it was true.” Id.




WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                      PAGE 17 OF 21
      Case 1:24-cv-10049-LJL           Document 142        Filed 03/19/25      Page 24 of 27




       There is no pleading that Wallace or Street made any particular false statement but only

that “Defendants,” without distinguishing among them, “publicly disclosed information or mate-

rial regarding Plaintiff’s marketing decisions, moral character, private life, and family which

showed Ms. Lively in a false light.” AC ¶448. As to “actual malice” she pleads only that the un-

differentiated “Defendants knew the public disclosures would create a false impression about Ms.

Lively or acted with reckless disregard for the truth.” Id. ¶450.5

       In addition to failing to plausibly allege “actual malice,” the conduct at issue, whatever it

is, cannot possibly satisfy the “outrageousness” element; that is, the conduct must be “extreme,

outrageous, and beyond the bounds of decency, and to be regarded as atrocious, and utterly intol-

erable in a civilized society.” Blanco v. Success Acad. Charter School, Inc., 722 F.Supp.3d 187, 217

(S.D.N.Y. 2024). As this Court explained, “IIED is a highly disfavored [tort] under New York

law.” Id. Whether the conduct alleged may be reasonably regarded as sufficiently extreme or out-

rageous “is a matter for the court to determine in the first instance.” Id.

       Even if Plaintiff’s allegations against Wallace and Street are plausible (and they are not) it

is hard to imagine how a public relations point/counterpoint between two actors (three if you count

Plaintiff’s husband) could rise to a cognizable IIED claim. This one does not, even giving Plaintiff’s

deficient pleading all benefits of doubt.

          C. Aiding and Abetting Harassment and Retaliation Under California Law

       The final claim, against Wallace and Street is aiding and abetting harassment and retaliation

under a California employment rights statute. But aiding and abetting under California law requires

that Wallace and Street knew that others’ conduct violated the California employment statute, the

Fair Employment and Housing Act. See, e.g., Smith v. BP Lubricants USA Inc., 64 Cal.App.5th 138,

146 (2021). The first mention of the FEHA is not until the cause of action is alleged, and only


5
 Earlier, Plaintiff alleges that one of the Defendants’ attorneys published statements “with actual
malice” claiming that “Defendants know that the core narrative advance by Mr. Freedman—that
Ms. Lively fabricated made-up sexual harassment claims to seize control of the Film—is false.”
AC ¶¶300–301.


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                    PAGE 18 OF 21
        Case 1:24-cv-10049-LJL         Document 142        Filed 03/19/25      Page 25 of 27




includes the conclusory allegation that Wallace and Street “knew their actions constituted unlaw-

ful violation of the FEHA.” AC ¶413. Lively never alleges any concrete allegations about how or

why Wallace or Street knew that the FEHA existed, let alone that anyone’s conduct violated it in

this case. See generally AC ¶413.

         Furthermore, the harassment is alleged to have occurred during the production of the Film,

long before Wallace and Street were allegedly involved in August 2024 in this matter. And the so-

called retaliation is addressed in a part of a single sentence which alleges that Wallace and Street

“aided and abetted the discriminatory conduct … including, but not limited to by participating in

the above-described coordinated “astroturfing” campaign to discredit and “bury” Ms. Lively. AC

¶411.

         That claim, with the other two claims, should be dismissed for failure to state a claim.

           D. Without an underlying tort, there is no civil conspiracy.

         “New York law only recognizes an action for civil conspiracy if it is connected to a separate

underlying tort.” Fisk, 424 F.Supp.2d at 677 (citing Alexander & Alexander Inc. v. Fritzen, 68

N.Y.2d 968, 969 (1986)). For the reasons above, Lively fails to state a claim that Wallace or Street

Relation engaged in any tort, so the civil conspiracy claim against Wallace and Street should be

dismissed.

         VIII. Conclusion

         As the Court has surely noticed, this case attracts significant publicity even as, perhaps,

events of more consequence take place around the world. But this particular circus doesn’t need

any more rings. The claims against Wallace and Street should be dismissed either on the merits or

for lack of jurisdiction or improper venue or, in the alternative, the claims severed and transferred.

After all, Lively has already indicated a willingness to do battle (and play6) in Texas. So Texas



6
 See, e.g., Sonia Horon, Blake Lively gives bizarre response to the chaotic SXSW premiere of Another
Simple Favor, Daily Mail https://www.dailymail.co.uk/tvshowbiz/article-14488651/blake-lively-
response-sxsw-premiere-simple-favor.html, (Mar. 12 2025); Blake Lively, Final Austin Roundup,


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                    PAGE 19 OF 21
      Case 1:24-cv-10049-LJL          Document 142        Filed 03/19/25      Page 26 of 27




would be a logical spot for hostilities to continue unless, of course, the Court dismisses her claims

on the merits with prejudice in which case, as Movants, It Ends With Us.



Dated: March 19, 2025                                 Respectfully submitted,


                                                      JACKSON WALKER LLP

                                                      S/ Charles L. Babcock
                                                      Charles L. Babcock
                                                      SDNY #5451117
                                                      Joel R. Glover
                                                      SDNY #5697487
                                                      JACKSON WALKER LLP
                                                      1401 McKinney, Suite 1900
                                                      Houston, TX 77010
                                                      (713) 752-4200
                                                      cbabcock@jw.com
                                                      jglover@jw.com


                                                      ATTORNEYS FOR DEFENDANTS
                                                      JED WALLACE, AN INDIVIDUAL AND
                                                      STREET RELATIONS, INC.




Instagram, https://www.instagram.com/blakelively/p/DHFlbnRAgQS/?img_index=1 (March
12, 2025).


WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                   PAGE 20 OF 21
      Case 1:24-cv-10049-LJL         Document 142       Filed 03/19/25      Page 27 of 27




                                 CERTIFICATE OF COMPLIANCE

       This memorandum of law complies with S.D.N.Y. Local Civil Rule 7.1, because it meets

the formatting requirements, including being 12-point type or larger, with one-inch margins, and

the body text is exactly double-spaced. This memorandum also has 6,622 words in the body, ac-

cording to Microsoft Word 365’s word count feature, meaning it does not exceed 8,750 words.

This memorandum of law complies with Judge Liman’s individual practices because it is fewer

than 25 pages, and other parties in this case have agreed to a limit fewer than 30 pages for memo-

randa of law in support and in opposition.



                                                    S/ Charles L. Babcock
                                                    Charles L. Babcock




WALLACE’S MOL IN SUPPORT OF MOTION TO DISMISS OR, TO TRANSFER VENUE                PAGE 21 OF 21
